Case 2:02-cr-20317-SH|\/| Document 107 Filed 07/28/05 Page 1 of 2 Page|D 112

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IN THE UNITED STATES DISTRICT coURT nmsv_...- ...------1m
FOR THE wESTERN DISTRICT oF TENNESSEE ‘
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UNITED sTATEs oF AMERICA, `US DISWICTGOLBT
WRJOFTN MEMP\-RS
vs. No. 02-20317-Ma

TOMMIE CONNOR,

Defendant.

 

ORDER RESETTING RE-SENTENCING HEARING

 

Before the court is the July 25, 2005, joint motion of the
parties to reset the re-sentencing hearing of Tammie Connor, Which
is presently set for August 17, 2005. For good cause shown, the
motion is granted. The re-sentencing hearing of defendant Tammie

Connor is reset to Tuesday, September 20, 2005, at 1230 p.m.

It is so oRDERED this qqléday of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 107 in
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Honorable Samuel Mays
US DISTRICT COURT

